                                  IN THEDocument
                  Case 4:22-cv-00228-O   UNITED STATES
                                                 12 FiledDISTRICT
                                                         05/19/22 COURT
                                                                  Page 1 of 1 PageID 109
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                               ORDER STRIKING AND UNFILING DOCUMENT(S)
The Court has independently determined that the document(s) below should be stricken and unfiled. Accordingly, it is ordered
that the document(s) is/are stricken from the record of this case, and the Clerk is directed to note on the docket that the
document(s) has/have been unfiled.

    May 19, 2022
    DATE                                                            U.S. DISTRICT/MAGISTRATE JUDGE

                                                           NOTICE OF DEFICIENCY
    Judge: O'Connor                                                             Date: May 19, 2022
    Case Number: 4:22-cv-228                                                    Style: U.S. Bank National Association v. Arnold

                                                               *******************
    A(n) Settlement Conference Report                                                                                       has been filed by
    Plaintiff                                                                     and is considered deficient in the area(s) noted below:
                    1.        A civil cover sheet must be filed with the complaint. See LR 3.1(a) or LR 3.2(c).
                    2.        The document(s) must be in proper form. See LR 10.1 or LCrR 49.3.
                   3.         The signature of the attorney of record, which includes a party proceeding pro se, is required on each
                              document filed. See FED. R. Civ. P. 11(a), FED. R. Crim. P. 49(d), LR 11.1(b), or LCrR 49.5(b).
                    4.        A completed certificate of service is required. See FED. R. Civ. P. 5(d) or FED. R. Crim. P. 49(d).
                    5.        Each separate document contained therein must be identified. See LR 5.1(c) or LCrR 49.2(c).
                    6.        The motion or response must include:
                         a.                  certificate of conference or inability to confer. See LR 7.1(b) or LCrR 47.1(b).
                         b.                  brief in support of motion. See LR 7.1(d), LR 56.5(a), or LCrR 47.1(d).
                         c.                  proposed order. See LR 7.1(c) or LCrR 47.1(c).
                         d.                  documentary or non-documentary evidence in a separate appendix. See LR 7.1(i) or LR 56.6.
                   7.     A motion for leave to amend must have a copy of the proposed amended pleading attached as an exhibit.
                          See LR 15.1(a) and (b). If the motion for leave to amend is filed on paper, the motion must be
                          accompanied by an original and second copy of the proposed amended pleading that is neither attached to the
                          motion nor made an exhibit to the motion. See LR 15.1(a).
                   8.     A motion for continuance of a trial setting must be signed by the party as well as by the attorney of record.
                          See LR 40.1.
                   9.     An attorney seeking pro hac vice admission must apply for admission on an approved form and pay the
                          applicable fee. See LR 83.9(b) or LCrR 57.9(b).
                  10.     Additional copies are required. See LR 5.1(b) or LCrR 49.2(b).
                  11.     The attorney filing the pleading is not admitted to practice in this district. See LR 83.7 or LCrR 57.7.
                  12.     The document requires a separately signed certificate of interested persons. See LR 3.1(c), LR 3.2(e),
                          LR 7.4, LR 81.1 (a)(3)(D), or LR 81.2.
                ✔ 13.     Other:
                              Plaintiff filed a report regarding contents of scheduling order on its own, the Court requires a Joint Report be
                              filed.
